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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

JIMMY LEE ROBERTS,                               )
                                                 )
        Plaintiffs,                              )
                                                 )
        v.                                       ) CIVIL ACT. NO. 2:20-cv-466-ECM
                                                 )               (WO)
WALTON ENTERPRISES,                              )
                                                 )
        Defendant.                               )

                                OPINION and ORDER

         On August 26, 2020, the Magistrate Judge entered a Recommendation (doc. 10)

to which no timely objections have been filed. After an independent review of the file

and upon consideration of the Recommendation, it is

         ORDERED that the Recommendation of the Magistrate Judge is ADOPTED,

and this case is DISMISSED prior to service under 28 U.S.C. § 1915(e)(2)(B)(i) and

(ii).

        A separate Final Judgment will be entered.

        Done this 29th day of September, 2020.


                                         /s/ Emily C. Marks
                                   EMILY C. MARKS
                                   CHIEF UNITED STATES DISTRICT JUDGE
